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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,                    F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              April 27, 2021




                                         /s/ Alysson Mills
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                                 650 Poydras Street Suite 1525
                                 New Orleans, Louisiana 70130
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                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
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Introduction

         For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

         On June 22, 2018, the Court appointed me receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere, Lilli
Bass, and Kristen Amond.

         The Court instructed me to file a report of my progress every 60 days. I filed my last report
on February 26, 2021, and this report picks up where that report left off. It contains the following
parts:

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                   Criminal cases’ status                                      4
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                   Receiver’s actions (past 60 days and next 60 days)         11
                   Summary of status of assets                                15


         As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims.




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Highlights

        These reports can be cumbersome and repetitive. I provide highlights for those who have
neither the time nor desire to read this report in its entirety.

        The biggest highlight to report: On April 19, 2021, I filed a motion to approve a first
distribution. It proposes to make $17,500,000 available to Madison Timber’s victims. I have
mailed a copy to Madison Timber’s victims and encourage them to read it closely. For
persons reading this report online, the motion also can be accessed here. Key takeaways:

        •    The motion proposes that this first distribution prioritize restoring each investor’s
             principal. In other words, the Receivership Estate first would repay any principal still
             due to any investor under any promissory note, minus any interest the investor may
             have received under any promissory note. I call these losses “Priority 1” losses.

        •    The motion asks to distribute $17,000,000 to investors with Priority 1 losses, on a pro
             rata basis. This first distribution would pay back 36% of all Priority 1 losses.

        •    The motion asks to set aside $500,000 for the benefit of investors who do not qualify
             for a first distribution but who establish a financial hardship based on objective
             measures including their age and income. Qualified hardship investors would be
             eligible for a non-recourse equitable advance as funds allow.

        •    The motion asks to exclude from the first distribution and equitable advance any
             investors who the Receivership Estate has sued or settled with. (There are only four
             such investors.)

        •    The motion asks that, instead of giving the Alexander Seawright Timber Fund its
             share of any distribution, I give it directly to the Alexander Seawright Timber Fund’s
             33 investors. Brent Alexander and Jon Seawright, through counsel, advise that they
             consent and agree to assist.

        •    The Court will hold a public hearing on the motion on May 17, 2021, at 9:00 a.m. I
             will post a Zoom link and dial-in information on madisontimberreceiver.com in
             advance of the hearing.

        Other highlights include:

        •    On March 1, 2021, the Court entered orders denying several motions to dismiss, filed
             in three different lawsuits, by Jon Seawright; The UPS Store, Inc.; Herring Ventures,
             LLC d/b/a The UPS Store, Austin Elsen, Tammie Elsen, Courtney Herring, Diane

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               Lofton, and Chandler Westover; Rawlings & MacInnis, PA, Tammy Vinson, and
               Jeannie Chisholm; Trustmark National Bank; Bennie Butts; RiverHills Bank; and
               Southern Bancorp Bank.

           •   On March 26, 2021, the bankruptcy judge entered summary judgment against Bill
               McHenry, refusing him bankruptcy discharge of his $3,473,320 debt to the
               Receivership Estate.

           •   On April 12, 2021, the Court held a hearing on a motion to sell the last 100 acres of
               undeveloped land in Lafayette County, Mississippi, formerly owned by Oxford
               Springs, LLC and now owned solely by the Receivership Estate. The Court approved
               the sale, which is for $540,000. An order is forthcoming.


Criminal cases’ status
           United States v. Adams, No. 3:18-cr-88

           Lamar Adams is serving a 19.5-year sentence in federal prison.


           United States v. McHenry, No. 3:19-cr-20

           Bill McHenry was acquitted on December 5, 2019.

           After Adams, McHenry is the only person to have been charged in connection with the
Madison Timber Ponzi scheme. I am hopeful that criminal authorities are not finished with their
work. Victims are right to expect that criminal authorities will pursue justice in this case.


Civil cases’ status

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           The Securities and Exchange Commission’s case against Adams and Madison Timber,
filed April 20, 2018, remains open for the purpose of administering the Receivership Estate’s
affairs.

           Sale—the last 100 acres in Lafayette County, Mississippi: On March 12, 2021, I moved
the Court for permission to sell for $540,000 the last 100 acres of undeveloped land in Lafayette
County, Mississippi, formerly owned by Oxford Springs, LLC, and now owned solely by the


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Receivership Estate. Gary Property Management, an adjacent property owner, objected to the sale
and asserts a claim against the sale proceeds.

       The Court approved the sale notwithstanding Gary Property Management’s objection
following a hearing on April 12, 2021. An order is forthcoming. Gary Property Management’s
claim against the sale proceeds nevertheless must be resolved.

       The motion, Gary Property Management’s objection, my response to it, and the Court’s
order are all available at madisontimberreceiver.com.

       Motion to approve first distribution: On April 19, 2021, I filed a motion that, if granted,
will make $17,500,000 available to Madison Timber’s victims.

       The motion proposes that this first distribution prioritize restoring each investor’s principal.
In other words, the Receivership Estate first would repay any principal still due to any investor
under any promissory note, minus any interest the investor may have received under any
promissory note. I call these losses “Priority 1” losses.

       The motion asks to distribute $17,000,000 to investors with Priority 1 losses, on a pro rata
basis. This first distribution would pay back 36% of all Priority 1 losses.

       The motion asks to set aside $500,000 for the benefit of investors who do not qualify for a
first distribution but who establish a financial hardship based on objective measures including their
age and income. Qualified hardship investors would be eligible for a non-recourse equitable
advance as funds allow.

       The motion asks to exclude any investors who the Receivership Estate has sued or settled
with. (There are only four such investors.)

       The motion asks that, instead of giving the Alexander Seawright Timber Fund its share of
any distribution, I give it directly to the Alexander Seawright Timber Fund’s 33 investors. Brent
Alexander and Jon Seawright, through counsel, advise that they consent and agree to assist.

       The Court will hold a public hearing on the motion on May 17, 2021, at 9:00 a.m. I will
post a Zoom link and dial-in information on the website madisontimberreceiver.com in advance
of the hearing.
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           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
           Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate.

           I obtained a final judgment against Bill McHenry in the amount of $3,473,320.1 McHenry
has not paid the judgment. To avoid a judgment debtor examination, he filed a Chapter 7 petition
for bankruptcy.2 By filing his petition for bankruptcy, he triggered an automatic stay of litigation
against him. The result is that I cannot collect the $3,473,320 judgment against McHenry while
his bankruptcy proceedings are pending.

           I have participated in McHenry’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On March 26, 2021, the bankruptcy judge granted a motion for
summary judgment that I filed against McHenry. The result is McHenry is not entitled to a
bankruptcy discharge of his $3,473,320 debt to the Receivership Estate. McHenry moved for
reconsideration on March 31, 2021, and hearing was held on April 26, 2021.


           Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
           Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

           The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. On November 22, 2019, I filed an amended complaint.

           Butler Snow: On February 25, 2021 the Court entered an order approving a $9.5 million
settlement with Butler Snow. Because no objector appealed that order, the settlement is final. The




1
    Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
2
    Doc. 1, In re: William Byrd McHenry, Jr., No. 20-bk-268 (Bankr. S.D. Miss.).
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settlement proceeds form a large part of the proposed $17,500,000 first distribution to Madison
Timber’s victims.

        Baker Donelson: Baker Donelson filed a motion to dismiss the amended complaint on
December 20, 2019, and I filed the Receivership Estate’s response on January 10, 2020. Those
filings are available at madisontimberreceiver.com.

        Alexander Seawright: The Alexander Seawright defendants also filed a motion to dismiss
the amended complaint on December 20, 2019, and I filed the Receivership Estate’s response on
January 10, 2020. Those filings are available at madisontimberreceiver.com.

        Jon Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019.3
By filing his petition for bankruptcy, Seawright triggered an automatic stay of litigation against
him. The result is that I cannot litigate the Receivership Estate’s claims against Seawright while
his bankruptcy proceedings are pending.

        I have participated in Seawright’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On February 7, 2020, I filed an adversary complaint that objects
to the discharge of Seawright’s debt to the Receivership Estate on the basis that the debt flows
from his false pretenses, false representations, and fraud.4 Seawright filed a motion to dismiss the
adversary complaint, which I opposed. On March 1, 2021, the Court entered an order denying
Seawright’s motion.5 Those filings are available at madisontimberreceiver.com. A scheduling
conference is set for May 14, 2021.


        Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

        The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto

3
  Doc. 1, In re: Jon Darrell Seawright, No. 19-bk-3921 (Bankr. S.D. Miss.).
4
  Doc. 1, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss.).
5
  Doc. 18, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss.).
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DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate. On January 4, 2021, I filed an amended
complaint that names BankPlus’s insurers as defendants.

           Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha, filed
answers to the amended complaint. BankPlus; Gee Gee Patridge, Vice President and Chief
Operations Officer of BankPlus; Cowgill, a former manager of BankPlus’s Southaven, Mississippi
branch; and Mutual of Omaha all moved to dismiss the amended complaint. I filed an opposition
to their motions on February 15, 2021.

           BankPlus’s insurers also moved to dismiss the amended complaint. I filed an opposition
to that motion on March 19, 2021.

           All answers, motions, and related filings are available at madisontimberreceiver.com.

           Meanwhile Murphree continues to do something no other defendant has done: attempt to
voluntarily repay the Receivership Estate without any guarantee of a release of any claims against
him. I have now received a total of thirteen checks, each in the amount of $800.00, which I am
holding solely as an offset to Murphree’s monetary liability for the Receivership Estate’s claims
against him.


           Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

           The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

           A jury trial is set for April 4, 2022. The parties currently are exchanging discovery which,
as the Court observed, “in a case about notarization should not be overly complex.”6 On February



6
    Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss.).
                                                                                                     8
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25, 2021, I moved to compel The UPS Store, Inc. to, among other things, produce documents that
I have demanded of it in the course of discovery. That motion is pending.

        On August 26, 2020, UPS filed a second motion to dismiss the Receivership Estate’s
lawsuit against it, which I opposed. On March 1, 2021, the Court entered an order denying UPS’s
second motion to dismiss.7

        On March 29, 2021, UPS moved to certify for interlocutory appeal the Court’s order
denying UPS’s second motion to dismiss. Herring Ventures, LLC d/b/a The UPS Store, Austin
Elsen, Tammie Elsen, Courtney Herring, Diane Lofton, and Chandler Westover; and Rawlings &
MacInnis, PA, Tammy Vinson, and Jeannie Chisholm all joined the motion to certify. Absent
extraordinary circumstances, a defendant such as UPS has no right to appeal an order denying a
motion to dismiss. I filed an opposition to the motion to certify on April 12, 2021.

        All motions and related filings are available at madisontimberreceiver.com.


        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        On August 27, 2019, the Securities and Exchange Commission obtained a judgment against
Wayne Kelly permanently enjoining him from further violations of federal securities laws;
disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.8


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme.




7
 Doc. 169, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss.).
8
 Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
585 (S.D. Miss.).
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        Trustmark National Bank, Bennie Butts, Southern Bancorp Bank, and RiverHills Bank all
filed motions to dismiss, which I opposed. On March 1, 2021, the Court entered an order denying
the motions.9

        On March 17, 2021, Trustmark moved to certify for interlocutory appeal the Court’s order
denying its motion to dismiss. Bennie Butts, Southern Bancorp Bank, and RiverHills Bank joined
Trustmark’s motion to certify. Absent extraordinary circumstances, a defendant such as Trustmark
has no right to appeal an order denying a motion to dismiss. I opposed the motion to certify on
March 31, 2021.

        All motions and related filings are available at madisontimberreceiver.com.

        A scheduling conference is set for May 14, 2021.


        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        On March 3, 2020, the Securities and Exchange Commission obtained a judgment against
Mike Billings permanently enjoining him from further violations of federal securities laws;
disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.10


        Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

        On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
Investments, LLC. The complaint alleges the defendants identified new investors for Madison
Timber, and for each investment made by an investor he personally recruited, each defendant
received a cut of the investor’s payment to Madison Timber. Over time, the defendants received
more than $635,000 in Madison Timber “commissions.” The defendants have all settled with the
Receivership Estate.




9
 Doc. 67, Alysson Mills vs. Trustmark, et al., No. 3:19-cv-00941 (S.D. Miss.).
10
  Doc. 1, Securities and Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-50
(S.D. Miss.).
                                                                                                        10
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Receiver’s actions (past 60 days and next 60 days)


       Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
       Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

       I have monitored and will continue to monitor Wayne Kelly’s and Mike Billings’s
compliance with their settlement agreements.

       I have fought and will continue to fight any bankruptcy discharge of Bill McHenry’s
$3,473,320 debt to the Receivership Estate on the basis, among others, that the debt flows from
his false pretenses, false representations, and fraud. I await the bankruptcy judge’s ruling on
McHenry’s motion to reconsider the bankruptcy judge’s determination that McHenry is not
entitled to a bankruptcy discharge of his $3,473,320 debt to the Receivership Estate.


       Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
       Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

       Because no objector appealed the order approving $9.5 million settlement with Butler
Snow, the settlement is final, and Butler Snow’s appeal, which was stayed but nevertheless remains
pending in the Fifth Circuit, will be dismissed. I have prepared to make a first distribution to
Madison Timber’s victims with proceeds from the settlement.

       I have litigated and will continue to litigate while awaiting the Court’s rulings on motions
to dismiss filed by Baker Donelson and Alexander Seawright.

       I also have fought and will continue to fight any bankruptcy discharge of Jon Seawright’s
debt to the Receivership Estate on the basis that the debt flows from his false pretenses, false
representations, and fraud. The Court denied Seawright’s motion to dismiss the adversary
complaint I filed against him on March 1, 2021. A scheduling conference is set for May 14, 2021.




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       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       I opposed new motions to dismiss filed by BankPlus; Gee Gee Patridge, Vice President
and Chief Operations Officer of BankPlus; Jason Cowgill; and Mutual of Omaha. I have litigated
and will continue to litigate while awaiting the Court’s rulings on those motions.


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       I have litigated and will continue to litigate the Receivership Estate’s claims against the
notaries and their employers on whom Lamar Adams principally relied to notarize fake timber
deeds. I opposed a motion filed by The UPS Store, Inc., and joined by other defendants, which
asked to certify for appeal the Court’s denial of The UPS Store, Inc.’s second motion to dismiss.

       The parties continue to exchange discovery, and I await the Court’s ruling on a motion to
compel The UPS Store, Inc. to produce documents that I have demanded of it.


       Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       I have litigated and will continue to litigate the Receivership Estate’s claims against the
financial institutions and professionals who provided banking services that enabled and sustained
the Madison Timber Ponzi scheme. I opposed a motion filed by Trustmark National Bank, and
joined by other defendants, which asked to certify for appeal the Court’s denial of their motions to
dismiss. A scheduling conference is set for May 14, 2021.


       Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

       I have monitored and will continue to monitor Stu Anderson’s and Randy Shell’s
compliance with their settlement agreements.


       “Commissions,” gifts, and proceeds

       I have accounted and will continue to account for “commissions” paid by Adams, Madison
Timber, or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors
to the Madison Timber Ponzi scheme and to account for gifts that Adams or Kelly made with
proceeds from Madison Timber.

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       Records

       To date I have reviewed records from Wayne Kelly, Mike Billings, Alexander Seawright,
Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River Hills Bank,
Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit, Adams’s and
Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison Trust Company
(no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       LLCs of which Adams was a member

       Of the six active limited liability companies (“LLCs”) of which Adams was a member, the
Receivership Estate already resolved its interests in 707, LLC; Delta Farm Land Investments, LLC;
KAPA Breeze, LLC; Mallard Park, LLC; and MASH Farms, LLC.

       That leaves only Oxford Springs, LLC, whose principal asset is undeveloped land in
Lafayette County, Mississippi. The Receivership Estate owns a 100% interest in the LLC. After
selling approximately 2,278 acres late last year, the LLC still owned 100 acres.

        On March 12, 2021, I moved the Court for permission to sell the last 100 acres for
$540,000. Gary Property Management, an adjacent property owner, objected to the sale and asserts
a claim against the sale proceeds. The Court approved the sale notwithstanding Gary Property
Management’s objection following a hearing on April 12, 2021. An order is forthcoming. Gary
Property Management’s claim against the sale proceeds nevertheless must be resolved.


       Federal and state authorities

       I continue to confer with federal and state authorities, including the FBI, the Securities and
Exchange Commission, the U.S. Attorney’s Office, and the Mississippi Secretary of State’s Office
regarding matters bearing on the Receivership Estate.




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       Investors

       I continue to communicate with investors in Madison Timber via phone, letter, email, and
in-person meetings. I speak to investors almost daily. Investors provide information that is useful
to my investigation and, in turn, I hope that I demystify the receivership process for them.

       Investors already received two letters from me this year: The first, dated January 11, 2021,
explained the then-proposed settlement with Butler Snow. The second, dated February 19, 2021,
enclosed information regarding each investor’s investments and losses.

       I prepared a third letter, which explains my proposed first distribution, on April 19, 2021,
the same day that I filed my motion to approve a first distribution. I finally mailed the letter on
April 26, 2021, the same day that the Court signed an order setting a hearing for May 17, 2021.


       Persons with knowledge

       I continue to speak to persons with first-hand knowledge of matters bearing on the
Receivership Estate.


       Other third parties

       My colleagues and I continue to research legal claims against third parties as new facts are
discovered. I do not publish our assessments here because to do so would be to telegraph our legal
strategies to future defendants. I intend to file additional lawsuits against third parties that
contributed to the debts of Madison Timber, and therefore to the debts of the Receivership Estate,
so long as new information justifies it. I have obtained tolling agreements from known third parties
as necessary to protect the Receivership Estate’s rights.




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Summary of status of assets

        As I have said from the beginning, my end goal is to make an equitable distribution to
victims with the money I recover. Today the Receivership Estate has $11,916,450.58 in its account
before the $9,500,000 Butler Snow settlement.

        It has taken a long time and a lot of work to recover enough money to make a meaningful
distribution, and I thank victims for their patience. I look forward to making a first distribution as
soon as possible.

        Meanwhile, the current status of the Receivership Estate’s assets is as follows:


 Receivership Estate’s account at Hancock Bank
 Previous account balance as of February 26, 2021                                              $7,161,270.60
 Interest                                                                                           +$2,344.06
 Martin Murphree’s voluntary repayments                                                             +$1,600.00
 Oxford Springs, LLC—proceeds from sale of 2,278 acres                                       +$4,668,530.48
 Oxford Springs, LLC—additional proceeds from dissolution                                           +78,473.31
 Community Bank—proceeds from closed accounts                                                       +$4,286.13
 Mississippi Department of Revenue—2020 tax return extension                                            -$25.00
 Bank fees                                                                                              -$29.00
                                                                                              $11,916,450.58


 Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                         litigation ongoing
 Lawsuit to hold law firms liable for debts of the Receivership
 Estate


 Settlement—Butler Snow                                                      $9,500,000 settlement
                                                                           with Butler Snow finalized


 Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                            litigation ongoing
 Lawsuit to hold bank and financial services company liable for
 debts of the Receivership Estate


 Martin Murphree’s voluntary repayment of his debt to the                       holding $10,400
 Receivership Estate, thirteen installments of $800.00 each to
 date*

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Alysson Mills v. The UPS Store, et al., No. 3:19-cv-364                        litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership
Estate


Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                            litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership Estate



Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427
Lawsuit to recover commissions from recruiters


Settlement—Stuart Anderson                                          promissory note in the original principal
                                                                       amount of $130,520 outstanding


Settlement—Randy Shell                                              promissory note in the original principal
                                                                       amount of $505,114 outstanding

Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
Lawsuit to recover commissions from recruiters


Judgment—Bill McHenry                                                  $3,473,320 judgment outstanding

Settlement—Mike Billings                                                      received $325,000
                                                                    plus 5% interest in Oxford Springs, LLC

                                                                       received $187,500 in satisfaction
                                                                              of promissory note

                                                                             duty to restate taxes,
                                                                          with 90% of any refunds to
                                                                              Receivership Estate



Settlement—Wayne Kelly                                                      received $1,384,435.17
                                                                        plus interests in 707, 315 Iona,
                                                                           and KAPA Breeze, LLCs

                                                                      received $100,000 in satisfaction of
                                                                                promissory note

                                                                       received $304,971.86 in proceeds
                                                                            from federal tax refund


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Settlement—Brad Pugh                                     promissory note in the original principal
                                                           amount of $183,002.66 outstanding


1/4 interest in Mash Farms, LLC                              received $258,500 in proceeds
808+ acres with hunting camp in Sunflower County          from sale of the Receivership Estate’s
Purchased in 2014 for $1,600,000                                          interest
Encumbered by Trustmark Bank mortgage
Owe approximately $900,000


100% interest in Oxford Springs, LLC                       received $4,668,530.48 in proceeds
Undeveloped land in Lafayette County                             from sale of 2,278 acres
Sold 2,278 acres; 100 acres remain
Unencumbered                                                    awaiting order approving
                                                              sale of 100 acres for $540,000

1/6 interest in 707, LLC                                 LLC sold principal asset and dissolved;
263+ acres recreational land in Holmes County               tendered $6,994.09 representing
Purchased in 2009                                           Adams’s, Kelly’s, and McHenry’s
Encumbered by First Commercial Bank mortgage               interests to the Receivership Estate
Owe approximately $368,000


1/3 interest in Delta Farm Land Investments, LLC         LLC sold principal asset and dissolved;
1170+ acres farmland in Oktibbeha County                   tendered $323,440.88 representing
Purchased in 2014 for $2,796,100                        Adams’s interest to the Receivership Estate
Encumbered by Trustmark Bank mortgage
Owe approximately $2,200,000


1/2 interest in KAPA Breeze LLC                               sold the Receivership Estate’s
1.5+/- acres mixed-use land on Highway 30A in Florida              interest for $700,000
Purchased in 2017 for approximately $1,900,000
Encumbered by Jefferson Bank mortgage
Owe approximately $1,365,000


1/4 interest in Mallard Park, LLC                             sold the Receivership Estate’s
1,723 acres with hunting lodge in Humphreys County                 interest for $175,000
Purchased in 2016 for $2,593,500
Encumbered by Southern AgCredit mortgage
Owe approximately $2,000,000


Hartford Life and Annuity Insurance Co. policy                 surrendered for $167,206.60



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Lincoln National Life Insurance Co. policy                         surrendered for $3,678.45

Settlement—Frank Zito                                                 received $100,000,
                                                                        first installment

                                                                      received $100,000,
                                                                  second and final installment,
                                                                         June 12, 2019


Settlement—Ole Miss Athletics Foundation                             received $155,084.50,
                                                                        first installment

                                                                     received $155,084.50,
                                                                  second and final installment,
                                                                         April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                          received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy


Settlement—Adams children                                              received $170,000

Alexander Seawright—UPS’s funds*                                       holding $100,000

2018 King Ranch Ford F150 truck                                         sold for $42,750

Condo in Calton Hill subdivision in Oxford, Mississippi              received $139,919.09
Unencumbered                                                         in proceeds from sale


Settlement—Philippi Freedom Ministries                                 received $16,125

Settlement—Rick Hughes Evangelistic Ministries                        received $43,657.95

Jewelry                                                                     for sale

House at 134 Saint Andrews Drive, Jackson, Mississippi               received $350,777.38
Unencumbered                                                         in proceeds from sale

                                                                       received $3,277.45
                                                                  from sale of household goods
                                                                         on consignment


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 Settlement—Century Club Charities                                                   received $56,944

 Settlement—Berachah Church                                                          received $175,904

 Settlement—R.B. Thieme, Jr.                                                       received $104,626.50

 Settlement—Operation Grace World Missions                                           received $39,325

 Returned proceeds—Techwood, LLC                                                     received $309,000



Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*I am holding these funds solely as an offset to the defendant’s liability for the Receivership Estate’s
claims.




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